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                       IN THE UNITED STATES DISTRICT COURT FOR TjHE-

                                  EASTERN DISTRICT OF VIRGINIA                ;   NOV I 32008
                                                                              L
                                            Alexandria Division             CLERK. US DISTRICT COURT
                                                                                  ALEXANDRIA. VA


UNITED STATES OF AMERICA                         )      CRIMINAL NO. 1:08cr426

                  v-                             )      Honorable Gerald Bruce Lee

NAVID MAHDAVI,                                   )


                          Defendant.             )



                                       STATEMENT OF FACTS



          The United States and the defendant, NAVID MAHDAVI, agree that were this matter to

proceed to trial, the United States would prove the following facts beyond a reasonable doubt.

I.        BACKGROUND

          At all times relevant to this case:


     1.   United Bank was a financial institution as defined in Title 18, United States Code,

          Section 20, in that it is an insured depository institution whose accounts were insured by

          the Federal Deposit Insurance Corporation.

     2.   United Bank's Tyson's Corner branch was located at 2071 Chain Bridge Road, Vienna,

          Virginia.


     3.   The subject property was located at 9204 Redwood Avenue, Bethesda, Maryland

          ("Redwood Avenue Property").

 4.       Excelente Settlements, Inc. was a settlement company located in Rockville, Maryland.

     5.   Defendant NAVID MAHDAVI ("MAHDAVI") resided in Vienna, Virginia.
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II.          DEFENDANT MAHDAVI'S CRIMINAL CONDUCT

     6.      In or about April 2008, within the Eastern District of Virginia and elsewhere, MAHDAVI
            and his coconspirators agreed to defraud various banks, including United Bank's Tyson's
            Corner branch, by obtaining fraudulent home equity loans on the Redwood Avenue
            Property, which in fact, held no equity.

 MANNER AND MFAm OF THF r™o,n .^ ANn THg amm                                           ^ y^

 7.         Specifically, MAHDAVI's coconspirators, with MAHDAVI's knowledge and agreement,
            created a fraudulent HUD-1 that showed MAHDAV! as having (already) closed on a first
           mortgage on the Redwood Avenue Property.

 8.        In addition to the HUD-I, MAHDAVI's coconspirators, with MAHDAVI's knowledge
           and agreement, created fraudulent tax returns and bank statements, and fraudulently
           bolstered his income, credit score and assets so that MAHDAVI could obtain numerous
           and fraudulent home equity loans on the Redwood Avenue Property, which he did no.
          own.




9.        MAHDAVI's coconspirators, with MAHDAVI's knowledge and agreement, filed
          simultaneous loan applications and supporting documents, totaling approximately $5.5
          million, with approximately ten banks, each unknown to the others, including United
          Bank's Tyson's Corner office, under the pretext Aat each bank's loan was the only home
          equity loan being obtained and that it was secured by the Redwood Avenue Property.
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                                                     OVERT ACTS

       10.       In or abou, March 2008, MAHDAVI's coconspirators, with MAHDAVI's knowledge
                 and agreement, submit fraudulent and material supporting documents, including ,he
                fraudulent HUD-1. to various banks, inc.uding United Bank's Tyson's Comer branch, in
                order to obtain home equity loans on the Redwood Avenue Property.
      " I-      In or abou, Apri, 2008, MAHDAVI sen. a copy of his federal tax return from his home
                fax machine in Vienna, Virgina (703-XXX-XXXX) to a coconspirator's office in
                Potomac, Maryland. At the time MAHDAVI sent the facsimile, he understood that his
               conspirator would fraudulently alter his tax return for the purpose of fraudulently
               obtaining home equity loans on the Redwood Avenue Property.
                                              RELEVANT rnnniu-T

               (A)    Fraudulent 2006 Home Equity Loan

 12.          In or about December 2006, MAHDAVI and a coconspirator fraudulently applied for a
              $500,000 home equity loan secured by MAHDAVI's residence on Fairway Drive in
              Vienna, Virginia.        MAHDAV! and his coconspirator fraudulently bolstered
              MAHDAVI's credit score in order to obtain the loan, which MAHDAVI would otherwise
              have not qualified.

13.          As a result, MAHDAVI personally received $490,000 in fraudulent proceeds.
                             DEFENDANT MAHDAVPs vm »™tARv nisn n«,PP

14.          On May 30, 2008, MAHDAVI voluntarily disclosed to the FBI the above described
             conspiracy and scheme to defraud prior to the scheme's execution. Based on tha, timely
             information, and MAHDAVI's willingness to cooperate, the FBI was able ,„ collect
             evidence proactively and to warn the targeted banks in advance of the scheme to defraud.
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   III.      INTENT


    * MAHDAVP. crimina, conduct, as recounted above and inc.uding that described under
            "Reievan, Conduct," was in al, respect intents, knowing, and deHberate, reflecting
            an intention to vioiate the law, and was not a product of oversight, misunderstanding, or
            other innocent reason.

  IV.      TOTAL LOSS

   16.     The parties agree that the total loss in this
                                                           matter is greater than $400,000 but less than
           $7,000,000.


                                                           Respectfully submitted,


                                                                         L States Attorney    //


                                                By:
                                                                               ~-»   rirz—,
                                                           G. Derek Andreson
                                                           Assistant United States Attorney


          After consuhing with my attorney and pursuant ,0 ,he plea agreement entered into this


Facts ,s true and accurate, and that had the matter proceeded to L, the United States wou.d
have proved the same beyond a reasonable doubt.                        A l\


                                                      Navid Mahdavi
                                                      Defendant
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       I n. Navid Mahdavrs attorney. I have carcfuUy viewed the above Statement of Facts
with my client. To my knowledge, m c.ient'
                                                              to ftese facte is an infon»ed
and voluntary one.




                                              JcmathaifShapiro, Esquire
